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 8
 9                         UNITED STATES DISTRICT COURT
10               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
11
12 IRONHAWK TECHNOLOGIES, INC.,                Case No. 2:18-cv-01481-DDP-JEM
   a Delaware Corporation,
13
                                               PLAINTIFF IRONHAWK
14              Plaintiff and                  TECHNOLOGIES, INC.’S
                Counterdefendant,              MEMORANDUM OF
15                                             CONTENTIONS OF FACT AND
         vs.                                   LAW [L.R. 16-4]
16
   DROPBOX, INC., a Delaware                   Judge: Hon. Dean D. Pregerson
17 corporation,                                Trial Date: October 22, 2019
                                               Final Pre-Trial Conf. : October 7, 2019
18
                Defendant and
19              Counterclaimant.
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 1 I.       INTRODUCTION
 2          Dropbox chose to move forward with the Smart Sync name for its data
 3 management software with full knowledge that Ironhawk had sold its competing
 4 data management software under the SmartSync® mark for nearly 15 years.
 5 Dropbox’s actions establish it as a trademark bully with all the hubris of a large
 6 company used to getting its way. Nonetheless, Dropbox is unwavering, and has
 7 contended that it—not Ironhawk—is the victim here.
 8          But as one might expect, given the similarity of Dropbox’s product name and
 9 the relevant industries, the majority of Dropbox’s defenses fail and should be
10 dismissed as mere sideshows. Thus, the main decisions the Court has to make as to
11 the impending trial is to what extent Dropbox will be allowed to obfuscate and paint
12 Ironhawk as a bad actor, instead of focusing on the material issues to be tried,
13 likelihood of confusion, the amount of damages resulting from Dropbox’s
14 infringement, and Dropbox’s level of intent. None of Dropbox’s theories have merit:
15          •     Dropbox asserts that third-party use of the SmartSync® mark is
16 widespread, weakening the mark. But notably, Dropbox did not serve discovery
17 requests to nor depose a single representative from any purported third-party user of
18 the mark. Dropbox is thus left unable to establish the relevance of any such use. And
19 this is no mistake. The third-party uses cited by Dropbox include adjustable beds,
20 waterfall lighting systems, and music-related software, among other clearly
21 unrelated uses, and Dropbox’s theory would crumble under questioning of a party
22 with personal knowledge as to the use.
23          •     Dropbox asserts that Ironhawk has an improper motive in filing this
24 lawsuit, that it is seeking to extort Dropbox as another revenue source because
25 Ironhawk is arguably a failing company. But this argument misses the obvious—it is
26 Dropbox that necessitated this action by adopting Ironhawk’s long-standing
27 SmartSync® mark with knowledge of Ironhawk’s ownership of the same, and the
28 large majority of civil lawsuits are brought seeking either injunctive relief or
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 1 monetary redress for harm suffered. There is nothing untoward in Ironhawk doing
 2 the same here.
 3         •     Similarly, Dropbox asserts that Ironhawk’s “dishonest” motives are
 4 somehow evidenced by its CEO, Mr. Gomes, penning draft e-mails documenting
 5 actual confusion after Dropbox’s release of Smart Sync. Again, third-party
 6 testimony confirms that Ironhawk’s business partners requested such concerns be
 7 confirmed in writing, and there is nothing untoward about documenting genuine
 8 actual confusion when one’s intellectual property has been infringed. Nonetheless,
 9 Ironhawk does not even intend to offer such e-mails as evidence in trial. It will
10 instead offer testimony of third-party witnesses with personal knowledge of actual
11 confusion.
12         •     Dropbox takes issue with every measure of damage for Ironhawk’s
13 injury. Ironhawk seeks a reasonable royalty, disgorgement of profits, and punitive
14 damages and attorneys’ fees should the facts ultimately presented at trial support
15 awarding the same. Dropbox has already filed a motion challenging Ironhawk’s
16 damages expert, and apparently intends to file further motions to preclude Ironhawk
17 from seeking a reasonable royalty, disgorgement of profits, and punitive damages.
18 Dropbox’s position is clear—even if the jury finds that it has infringed Ironhawk’s
19 mark, Dropbox does not believe it should have to pay a penny for the damage it has
20 caused to Ironhawk. Ironhawk disagrees.
21         As set forth in Ironhawk’s Motions in Limine, the majority of the evidence
22 cited in support of these arguments is inadmissible. And Dropbox’s failure to
23 establish a foundation for the greatly overstated third-party use of SmartSync®
24 renders such evidence inadmissible.
25         Ironhawk respectfully puts forward that the Court should not allow Dropbox
26 to turn the impending trial into a circus with its numerous sideshow arguments.
27 Instead, the trial should focus on the key factual issues in dispute, likelihood of
28 confusion, the amount of damages resulting from Dropbox’s infringement, and
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 1 Dropbox’s level of intent. Given the similarity of the marks, the relevant industries,
 2 and evidence showing Dropbox’s ill-intent towards Ironhawk, Ironhawk eagerly
 3 awaits trial for this matter and the jury’s verdict.
 4 II.     CLAIMS AND DEFENSES [L.R.16-4.1]
 5         Ironhawk has sued Dropbox for (a) trademark infringement under the Lanham
 6 Act, and (b) unfair competition under California common law.
 7         A.    Summary Statement of Claims Ironhawk Plans to Pursue [L.R. 16-
 8               4.1(a)]
 9               1.     First Claim for Relief – Violation of the Lanham Act (15
10                      U.S.C. § 1051, et seq.)
11         Ironhawk alleges that Dropbox’s use of Smart Sync as a name for its data
12 management software infringes upon Ironhawk’s SmartSync® trademark under
13 which Ironhawk markets its own data management software, in violation of the
14 Lanham Act, 15 U.S.C. § 1051, et seq.
15               2.     Second Claim for Relief – Common Law Unfair Competition
16                      Under California Law
17         Ironhawk alleges that Dropbox’s infringing use of Smart Sync further
18 constitutes unfair competition under California common law.
19         B.    Elements Required to Establish Ironhawk’s Claims [L.R. 16-4.1(b)]
20               1.     First Claim for Relief – Violation of the Lanham Act (15
21                      U.S.C. § 1051, et seq.)
22         To establish a claim for trademark infringement in violation of the Lanham
23 Act, 15 U.S.C. § 1051, et seq., Ironhawk must demonstrate the following:
24         1. SmartSync® is a valid, protectable trademark;
25         2. the plaintiff owns SmartSync® as a trademark; and
26         3. the defendant used Smart Sync without the consent of the plaintiff in a
27 manner that is likely to cause confusion among ordinary consumers as to the source,
28 sponsorship, affiliation, or approval of the goods.
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 1 See 9th Cir. Civ. Jury Inst. (2017) Instr. No. 15.6.
 2                     2.      Second Claim for Relief – Common Law Unfair Competition
 3               To establish a claim for common law unfair competition under California law,
 4 Ironhawk must satisfy the same elements as required to establish a claim for
 5 trademark infringement in violation of the Lanham Act, 15 U.S.C. § 1051, et seq.
 6 Jada Toys, Inc. v. Mattel, Inc., 518 F.3d 628, 632 (9th Cir. 2007) (“All of Mattel’s
 7 infringement claims are subject to the same test”); International Order of Job’s
 8 Daughters v. Lindbeburg & Co., 633 F.2d 912, 916 (9th Cir. 1980) (elements of
 9 state law unfair competition and unfair competition under federal Lanham Act are
10 “substantially congruent”).
11               C.    Brief Description of Key Evidence in Support of Ironhawk’s
12                     Claims [L.R. 16-4.1(c)]
13                     1.      First Claim for Relief – Violation of the Lanham Act (15
14                             U.S.C. § 1051, et seq.)
15               The key evidence that Ironhawk will introduce in support of its claim for
16 trademark infringement includes, without limitation:
17                    Evidence, including e-mails, correspondence, documents, and
18                     testimony demonstrating the history of Ironhawk and the SmartSync®
19                     software, including but not limited to SmartSync®’s technical
20                     characteristics and the historical and current sales, marketing, and
21                     customers of SmartSync®.
22                    Evidence, including e-mails, correspondence, documents, and
23                     testimony showing Ironhawk has marketed its data management
24                     software under the SmartSync trademark continuously since 2004.
25                    Evidence, including e-mails, correspondence, documents, and
26                     testimony demonstrating Ironhawk’s process in creating the SmartSync
27                     name.
28                    Evidence, including e-mails, correspondence, documents, and
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  1                   testimony demonstrating Ironhawk applied for and received a federal
  2                   trademark registration for SmartSync®, without proof of secondary
  3                   meaning.
  4                  Evidence, including e-mails, correspondence, documents, and
  5                   testimony demonstrating the name recognition and value of the
  6                   SmartSync® mark.
  7                  Evidence, including e-mails, correspondence, documents, and
  8                   testimony demonstrating that Oppenheimer & Co. (“Oppenheimer”)
  9                   introduced Ironhawk to Dropbox as a potential acquisition target, that
 10                   there was a pitch call with representatives of Ironhawk and Dropbox,
 11                   and Dropbox thereafter internally discussed and considered an
 12                   acquisition of Ironhawk and SmartSync®.
 13                  Evidence, including e-mails, correspondence, documents, and
 14                   testimony demonstrating that Dropbox destroyed key evidence
 15                   concerning such deliberations.
 16                  Evidence, including e-mails, correspondence, documents, and
 17                   testimony concerning Dropbox’s internal process in selecting the Smart
 18                   Sync name, including but not limited to the actions of Dropbox’s in-
 19                   house legal team and Dropbox’s prior knowledge of Ironhawk’s
 20                   SmartSync® mark.
 21                  Evidence, including e-mails, correspondence, documents, and
 22                   testimony demonstrating Dropbox’s intent when selecting the Smart
 23                   Sync name.
 24                  Evidence, including e-mails, correspondence, documents, and
 25                   testimony concerning the technical characteristics and nature of
 26                   Dropbox’s Smart Sync feature.
 27                  Evidence, including e-mails, correspondence, documents, and
 28                   testimony demonstrating the nature and extent Dropbox’s use of Smart
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  1                   Sync in the marketplace.
  2                  Evidence, including e-mails, correspondence, documents, and
  3                   testimony demonstrating the nature and extent of Dropbox’s
  4                   advertising and marketing of its Smart Sync, including but not limited
  5                   to SEO and SEM.
  6                  Evidence, including e-mails, correspondence, documents, expert
  7                   reports, and testimony demonstrating the strength of the Dropbox mark
  8                   and the strength of the association between “Dropbox” and “Smart
  9                   Sync.”
 10                  Evidence, including e-mails, correspondence, documents, expert
 11                   reports, and testimony demonstrating the strength of the Dropbox’s
 12                   Smart Sync mark.
 13                  Evidence, including e-mails, correspondence, documents, and
 14                   testimony showing instances of actual confusion between Ironhawk’s
 15                   SmartSync® and Dropbox’s Smart Sync.
 16                  Evidence, including e-mails, correspondence, documents, and
 17                   testimony concerning Ironhawk’s attempts to market SmartSync® in
 18                   the commercial sector and demonstrating that Dropbox’s use of Smart
 19                   Sync has devastated those efforts.
 20                  Evidence, including e-mails, correspondence, documents, and
 21                   testimony showing that Dropbox’s use of Smart Sync has damaged the
 22                   value of Ironhawk’s SmartSync® mark.
 23                  Evidence, including e-mails, correspondence, documents, reports and
 24                   testimony concerning the importance of the Smart Sync feature to
 25                   Dropbox’s sales.
 26                  Evidence, including e-mails, correspondence, documents, reports and
 27                   testimony demonstrating Dropbox’s revenues, amount of paid users by
 28                   plan, and feature offerings by plan, particularly which plans offer Smart
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  1               Sync.
  2              Daniel Cislo’s expert testimony concerning Ironhawk’s registration
  3               process for its Smart Sync® mark, Dropbox’s clearance process, and
  4               Dropbox’s commercial use of Smart Sync as a mark.
  5              Jessie Stricchiola’s expert testimony concerning the online presence of
  6               Dropbox’s Smart Sync and exposure to those looking for SmartSync®
  7               online.
  8              Robert Wunderlich’s expert testimony concerning the reasonable
  9               royalty and amount of disgorged profits required to compensate
 10               Ironhawk for the injury caused by Dropbox’s actions.
 11              Hal Poret’s expert report and testimony that survey respondents
 12               strongly link “Smart Sync” to Dropbox.
 13              Dr. Pham’s expert report and testimony that consumers are likely to
 14               associate “Smart Sync” with Dropbox.
 15               2.      Second Claim for Relief – Common Law Unfair Competition
 16                       Under California Law
 17        The key evidence that Ironhawk will introduce in support of its claim for
 18 common law unfair competition under California law is the same as the evidence it
 19 will introduce in support of its claim for trademark infringement.
 20        D.     Summary of Counterclaims and Affirmative Defenses Dropbox
 21               Plans to Pursue at Trial [L.R. 16-4.1(d)]
 22        Dropbox alleged the following counterclaims and affirmative defenses.
 23               1.      Counterclaims
 24        Dropbox seeks declaratory relief that its use of Smart Sync is descriptive.
 25               2.      Affirmative Defenses
 26        Although Dropbox alleged a number of purported affirmative defenses,
 27 Dropbox’s interrogatory responses discuss only the below affirmative defenses, and
 28 Ironhawk presumes the remaining affirmative defenses (many of which are not even
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  1 actual affirmative defenses) have been abandoned.
  2                            a.     Second Affirmative Defense – Fair Use
  3               Dropbox asserted that the claims of the Complaint are barred, in whole or in
  4 part, by the doctrine of fair use because Dropbox does not use the phrase “Smart
  5 Sync” as a trademark but rather as a descriptive term.
  6                            b.     Third Affirmative Defense – Unclean Hands
  7               Dropbox asserted that the claims of the Complaint are barred, in whole or in
  8 part, by the doctrine of unclean hands.
  9                            c.     Eleventh Affirmative Defense – Good Faith
 10               Dropbox asserted that the claims of the Complaint are barred, in whole or in
 11 part, by the doctrine of good faith because Dropbox acted reasonably and in good
 12 faith at all times relevant to the acts complained of in the Complaint.
 13                            d.     Thirteenth Affirmative Defense – Absence of Damages
 14               Dropbox asserted that the claims of the Complaint are barred, in whole or in
 15 part, because Ironhawk has not suffered any loss or damages as a result of the
 16 alleged acts or omissions of Dropbox.
 17               E.    Elements Required to Establish Dropbox’s Counterclaims and
 18                     Affirmative Defenses [L.R. 16-4.1(e)]
 19                     1.     Counterclaims
 20               For Dropbox to establish that its use of Smart Sync is descriptive (i.e. fair
 21 use), Dropbox must demonstrate that it:
 22               1. used Smart Sync other than as a trademark;
 23               2. used Smart Sync fairly and in good faith; and
 24               3. used Smart Sync only to describe Dropbox’s goods or services.
 25 9th Cir. Civ. Jury Inst. (2017) Instr. No. 15.24.
 26                     2.     Affirmative Defenses
 27                            a.     Second Affirmative Defense – Fair Use
 28               Dropbox must show that it: (1) used Smart Sync other than as a trademark;
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  1 (2) used Smart Sync fairly and in good faith; and (3) used Smart Sync only to
  2 describe Dropbox’s goods or services. 9th Cir. Civ. Jury Inst. (2017) Instr. No.
  3 15.24.
  4                            b.     Third Affirmative Defense – Unclean Hands
  5               Dropbox must show that: (1) Ironhawk’s conduct is inequitable; and (2) the
  6 conduct relates to the subject matter of Ironhawk’s claims. See POM Wonderful
  7 LLC v. Coca Cola Co., 166 F. Supp. 3d 1085, 1092 (C.D. Cal. 2016). The manner in
  8 which Ironhawk has pursued its claim or filed this lawsuit cannot form the basis of
  9 an unclean hands defense. Monster Energy Co. v. Thunder Beast LLC, 2018 WL
 10 6431010, *3 (C.D. Cal. Oct. 22, 2018); Adidas Am., Inc. v. TRB Acquisitions LLC,
 11 2017 WL 337983, at *8 (D. Or. Jan. 23, 2017); Coach, Inc. v. Kmart Corps., 756 F.
 12 Supp. 2d 421, 429 (S.D.N.Y. 2010); Yurman Design, Inc. v. Golden Treasure
 13 Imports, Inc., 275 F.Supp.2d 506, 518, recon. denied, 218 F.R.D. 396 (S.D.N.Y.
 14 2003).
 15                            c.     Eleventh Affirmative Defense – Good Faith
 16               Good faith is not a defense to liability for trademark infringement. However,
 17 to the extent that Dropbox refers to its asserted reliance on advice of counsel as a
 18 defense to a finding of willfulness, Dropbox must show that: (1) Dropbox disclosed
 19 all material facts to its lawyer before the advice was given; (2) what the lawyer’s
 20 advice was, (3) that the lawyer’s advice was communicated to someone within
 21 Dropbox that had decision-making authority to rely upon the advice; and (4) that
 22 Dropbox in fact followed the advice in good faith. Chiron Corp. v. Genentech, Inc.,
 23 268 F. Supp. 2d 1117, 1121–25 (E.D. Cal. 2002); Comark Commc’ns, Inc. v. Harris
 24 Corp., 156 F.3d 1182, 1191 (Fed. Cir. 1998); Int’l Star Class Yacht Racing Ass’n v.
 25 Tommy Hilfiger, U.S.A., Inc., 80 F.3d 749, 754 (2d Cir. 1996); adidas-America, Inc.
 26 v. Payless Shoesource, Inc., 546 F. Supp. 2d 1029, 1047 (D. Or. 2008).
 27                            d.     Thirteenth Affirmative Defense – Absence of Damages
 28               This is not in fact an affirmative defense such that it has any elements, but
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  1 instead an element of Ironhawk’s affirmative claim for damages.
  2               F.    Key Evidence Relied on in Opposition to Each Counterclaim or
  3                     Affirmative Defense [L.R. 16-4.1(f)]
  4                     1.    Counterclaim
  5               The key evidence that Ironhawk will introduce in opposition to Dropbox’s
  6 counterclaim that its use of Smart Sync is descriptive fair use is, without limitation:
  7               •     Evidence, including e-mails, correspondence, documents, and
  8                     testimony demonstrating that Oppenheimer & Co. (“Oppenheimer”)
  9                     introduced Ironhawk to Dropbox as a potential acquisition target, that
 10                     there was a pitch call with representatives of Ironhawk and Dropbox,
 11                     and Dropbox thereafter internally discussed and considered an
 12                     acquisition of Ironhawk and SmartSync®.
 13               •     Evidence, including e-mails, correspondence, documents, and
 14                     testimony demonstrating that Dropbox destroyed key evidence
 15                     concerning such deliberations.
 16               •     Evidence, including e-mails, correspondence, documents, and
 17                     testimony concerning Dropbox’s internal process in selecting the Smart
 18                     Sync name, including but not limited to the actions of Dropbox’s in-
 19                     house legal team and Dropbox’s prior knowledge of Ironhawk’s
 20                     SmartSync® mark.
 21               •     Evidence, including e-mails, correspondence, documents, and
 22                     testimony demonstrating Dropbox’s intent when selecting the Smart
 23                     Sync name.
 24               •     Evidence, including e-mails, correspondence, documents, and
 25                     testimony concerning the technical characteristics and nature of
 26                     Dropbox’s Smart Sync feature.
 27               •     Evidence, including e-mails, correspondence, documents, and
 28                     testimony demonstrating the nature and extent Dropbox’s use of Smart
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  1                   Sync in the marketplace.
  2               •   Evidence, including e-mails, correspondence, documents, and
  3                   testimony demonstrating the nature and extent of Dropbox’s
  4                   advertising and marketing of its Smart Sync, including but not limited
  5                   to SEO and SEM.
  6               •   Evidence, including e-mails, correspondence, documents, expert
  7                   reports, and testimony demonstrating the strength of the Dropbox mark
  8                   and the strength of the association between “Dropbox” and “Smart
  9                   Sync.”
 10               •   Evidence, including e-mails, correspondence, documents, expert
 11                   reports, and testimony demonstrating the strength of the Dropbox’s
 12                   Smart Sync mark.
 13               •   Evidence, including e-mails, correspondence, documents, and
 14                   testimony showing instances of actual confusion between Ironhawk’s
 15                   SmartSync® and Dropbox’s Smart Sync.
 16               •   Evidence, including e-mails, correspondence, documents, and
 17                   testimony concerning Ironhawk’s attempts to market SmartSync® in
 18                   the commercial sector and demonstrating that Dropbox’s use of Smart
 19                   Sync has devastated those efforts.
 20               •   Evidence, including e-mails, correspondence, documents, and
 21                   testimony showing that Dropbox’s use of Smart Sync has damaged the
 22                   value of Ironhawk’s SmartSync® mark.
 23               •   Evidence, including e-mails, correspondence, documents, reports and
 24                   testimony concerning the importance of the Smart Sync feature to
 25                   Dropbox’s sales.
 26               •   Daniel Cislo’s expert testimony concerning Dropbox’s commercial use
 27                   of Smart Sync as a mark.
 28               •   Jessie Stricchiola’s expert testimony concerning the online presence of
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  1                     Dropbox’s Smart Sync and exposure to those looking for SmartSync®
  2                     online.
  3                     2.    Affirmative Defenses
  4                           a.     Second Affirmative Defense – Fair Use
  5               The key evidence that Ironhawk will introduce in opposition to Dropbox’s
  6 affirmative defense for fair use, without limitation:
  7               •     Evidence, including e-mails, correspondence, documents, and
  8                     testimony demonstrating that Oppenheimer & Co. (“Oppenheimer”)
  9                     introduced Ironhawk to Dropbox as a potential acquisition target, that
 10                     there was a pitch call with representatives of Ironhawk and Dropbox,
 11                     and Dropbox thereafter internally discussed and considered an
 12                     acquisition of Ironhawk and SmartSync®.
 13               •     Evidence, including e-mails, correspondence, documents, and
 14                     testimony demonstrating that Dropbox destroyed key evidence
 15                     concerning such deliberations.
 16               •     Evidence, including e-mails, correspondence, documents, and
 17                     testimony concerning Dropbox’s internal process in selecting the Smart
 18                     Sync name, including but not limited to the actions of Dropbox’s in-
 19                     house legal team and Dropbox’s prior knowledge of Ironhawk’s
 20                     SmartSync® mark.
 21               •     Evidence, including e-mails, correspondence, documents, and
 22                     testimony demonstrating Dropbox’s intent when selecting the Smart
 23                     Sync name.
 24               •     Evidence, including e-mails, correspondence, documents, and
 25                     testimony concerning the technical characteristics and nature of
 26                     Dropbox’s Smart Sync feature.
 27               •     Evidence, including e-mails, correspondence, documents, and
 28                     testimony demonstrating the nature and extent Dropbox’s use of Smart
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  1                   Sync in the marketplace.
  2               •   Evidence, including e-mails, correspondence, documents, and
  3                   testimony demonstrating the nature and extent of Dropbox’s
  4                   advertising and marketing of its Smart Sync, including but not limited
  5                   to SEO and SEM.
  6               •   Evidence, including e-mails, correspondence, documents, expert
  7                   reports, and testimony demonstrating the strength of the Dropbox mark
  8                   and the strength of the association between “Dropbox” and “Smart
  9                   Sync.”
 10               •   Evidence, including e-mails, correspondence, documents, expert
 11                   reports, and testimony demonstrating the strength of the Dropbox’s
 12                   Smart Sync mark.
 13               •   Evidence, including e-mails, correspondence, documents, and
 14                   testimony showing instances of actual confusion between Ironhawk’s
 15                   SmartSync® and Dropbox’s Smart Sync.
 16               •   Evidence, including e-mails, correspondence, documents, and
 17                   testimony concerning Ironhawk’s attempts to market SmartSync® in
 18                   the commercial sector and demonstrating that Dropbox’s use of Smart
 19                   Sync has devastated those efforts.
 20               •   Evidence, including e-mails, correspondence, documents, and
 21                   testimony showing that Dropbox’s use of Smart Sync has damaged the
 22                   value of Ironhawk’s SmartSync® mark.
 23               •   Evidence, including e-mails, correspondence, documents, reports and
 24                   testimony concerning the importance of the Smart Sync feature to
 25                   Dropbox’s sales.
 26               •   Daniel Cislo’s expert testimony concerning Dropbox’s commercial use
 27                   of Smart Sync as a mark.
 28               •   Jessie Stricchiola’s expert testimony concerning the online presence of
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  1                     Dropbox’s Smart Sync and exposure to those looking for SmartSync®
  2                     online.
  3                             b.   Third Affirmative Defense – Unclean Hands
  4               As a threshold matter, Dropbox has zero evidence to even arguably support an
  5 unclean hands defense, which is Dropbox’s burden. Nonetheless, the following is
  6 the key evidence that Ironhawk will introduce in opposition to Dropbox’s
  7 affirmative defense for unclean hands, without limitation:
  8               •     Evidence, including e-mails, correspondence, documents, and
  9                     testimony demonstrating the history of Ironhawk and the SmartSync®
 10                     software, including but not limited to SmartSync®’s technical
 11                     characteristics and the historical and current sales, marketing, and
 12                     customers of SmartSync®.
 13               •     Evidence, including e-mails, correspondence, documents, and
 14                     testimony showing Ironhawk has marketed its data management
 15                     software under the SmartSync trademark continuously since 2004.
 16               •     Evidence, including e-mails, correspondence, documents, and
 17                     testimony demonstrating Ironhawk’s process in creating the SmartSync
 18                     name.
 19               •     Evidence, including e-mails, correspondence, documents, and
 20                     testimony demonstrating Ironhawk applied for and received a federal
 21                     trademark registration for SmartSync®, without proof of secondary
 22                     meaning.
 23                             c.   Eleventh Affirmative Defense – Good Faith
 24               The key evidence that Ironhawk will introduce in opposition to Dropbox’s
 25 affirmative defense for good faith, without limitation, is as follows:
 26                    Evidence, including e-mails, correspondence, documents, and
 27                     testimony demonstrating the history of Ironhawk and the SmartSync®
 28                     software, including but not limited to SmartSync®’s technical
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  1                   characteristics and the historical and current sales, marketing, and
  2                   customers of SmartSync®.
  3                  Evidence, including e-mails, correspondence, documents, and
  4                   testimony showing Ironhawk has marketed its data management
  5                   software under the SmartSync trademark continuously since 2004.
  6                  Evidence, including e-mails, correspondence, documents, and
  7                   testimony demonstrating Ironhawk applied for and received a federal
  8                   trademark registration for SmartSync®, without proof of secondary
  9                   meaning.
 10                  Evidence, including e-mails, correspondence, documents, and
 11                   testimony demonstrating the name recognition and value of the
 12                   SmartSync® mark.
 13                  Evidence, including e-mails, correspondence, documents, and
 14                   testimony demonstrating that Oppenheimer & Co. (“Oppenheimer”)
 15                   introduced Ironhawk to Dropbox as a potential acquisition target, that
 16                   there was a pitch call with representatives of Ironhawk and Dropbox,
 17                   and Dropbox thereafter internally discussed and considered an
 18                   acquisition of Ironhawk and SmartSync®.
 19                  Evidence, including e-mails, correspondence, documents, and
 20                   testimony demonstrating that Dropbox destroyed key evidence
 21                   concerning such deliberations.
 22                  Evidence, including e-mails, correspondence, documents, and
 23                   testimony concerning Dropbox’s internal process in selecting the Smart
 24                   Sync name, including but not limited to the actions of Dropbox’s in-
 25                   house legal team and Dropbox’s prior knowledge of Ironhawk’s
 26                   SmartSync® mark.
 27                  Evidence, including e-mails, correspondence, documents, and
 28                   testimony demonstrating Dropbox’s intent when selecting the Smart
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  1                     Sync name.
  2                    Evidence, including e-mails, correspondence, documents, and
  3                     testimony concerning the technical characteristics and nature of
  4                     Dropbox’s Smart Sync feature.
  5                    Evidence, including e-mails, correspondence, documents, and
  6                     testimony demonstrating the nature and extent Dropbox’s use of Smart
  7                     Sync in the marketplace.
  8                    Evidence, including e-mails, correspondence, documents, and
  9                     testimony demonstrating the nature and extent of Dropbox’s
 10                     advertising and marketing of its Smart Sync, including but not limited
 11                     to SEO and SEM.
 12                    Daniel Cislo’s expert testimony concerning Dropbox’s clearance
 13                     process, and Dropbox’s commercial use of Smart Sync as a mark.
 14                            d.      Thirteenth Affirmative Defense – Absence of Damages
 15               Because this is not in fact an affirmative defense, Ironhawk will not introduce
 16 evidence in opposition, but rely on the evidence presented in support of its
 17 affirmative claims, referenced above.
 18               G.    Similar Statements for All Third Parties [L.R. 16-4.1(f)]
 19               Not applicable.
 20               H.    Anticipated Evidentiary Issues and Ironhawk’s Position on Those
 21                     Issues [L.R. 16-4.1(h)]
 22                     1.     Irrelevant and Unsubstantiated Third-Party Use of “Smart
 23                            Sync”
 24               Based on a review of Dropbox’s exhibit list and witness list, it is clear that
 25 Dropbox will attempt to introduce numerous examples of irrelevant and
 26 unsubstantiated third-party use of “smart sync” variants. This issue is briefed in full
 27 in Ironhawk’s Motions in Limine Nos. 1 and 2, but Ironhawk provides a summary of
 28 the issue here:
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         PLAINTIFF IRONHAWK TECHNOLOGIES, INC.’S MEMORANDUM OF CONTENTIONS OF FACT AND
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  1               Such evidence is irrelevant and inadmissible without foundation
  2 demonstrating the nature and extent of the third-party use, particularly that the use is
  3 in the same industry as Ironhawk’s SmartSync®. Ironhawk further understands that
  4 Dropbox will attempt to use its marketing expert witness, Dr. Pham, as an end-run
  5 around to this evidence’s inadmissibility by arguing that Dr. Pham reviewed such
  6 evidence in forming his opinions, and must disclose it to the jury. That argument is
  7 without merit.
  8               Dropbox failed to depose, serve discovery upon, or identify in its witness list
  9 a single purported third-party user of “smart sync.” This is no accident—there are
 10 few if any even arguable third-party uses of “smart sync” variants within Ironhawk’s
 11 industry, and Dropbox’s purported third-party uses—e.g., adjustable beds and clock
 12 synchronization programs—crumble under examination. Thus, it would be highly
 13 prejudicial to allow to allow Dropbox to introduce such evidence without foundation
 14 and as hearsay through unrelated witnesses, depriving Ironhawk any ability to cross-
 15 examine those with actual knowledge on the issue. And allowing Dropbox’s expert
 16 to review and then parrot such hearsay evidence to the jury would only exacerbate
 17 such prejudice.
 18                     2.     Improper Motive in Bringing Claims
 19               Based on a review of Dropbox’s exhibit list and witness list, it is further
 20 apparent that Dropbox will seek to introduce evidence, testimony, and argument that
 21 Ironhawk had an improper motive in bringing this lawsuit—that, despite Ironhawk’s
 22 registration of the SmartSync® mark and Dropbox’s knowing use of the same name
 23 for a similar product, Dropbox intends to claim that Ironhawk, a failing or struggling
 24 business with sagging revenues (according to Dropbox), has only brought this action
 25 as part of a pattern of extortion, to obtain a “windfall” or make money, or as a
 26 “revenue source.” This issue is briefed in full in Ironhawk’s Motion in Limine No. 3,
 27 but Ironhawk provides a summary of the issue here:
 28               Ironhawk’s motive in bringing this action is wholly irrelevant, as motive or
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  1 plaintiff’s intent not an element of its claims for trademark infringement and
  2 common law unfair competition. Nor it is probative to Dropbox’s unclean hands
  3 defense. As discussed supra, the manner in which Ironhawk has pursued its claim or
  4 filed this lawsuit cannot form the basis of an unclean hands defense. And allowing
  5 Dropbox to present this evidence would be highly prejudicial and misleading to the
  6 jury.
  7                     3.     Purported Fabrication of Evidence
  8               Based on a review of Dropbox’s exhibit list, Dropbox also intends to
  9 introduce evidence, argument, and testimony that forwards a false narrative that
 10 Ironhawk has fabricated evidence—e.g., certain e-mails expressing actual confusion.
 11 This issue is briefed in full in Ironhawk’s Motion in Limine No. 4, but Ironhawk
 12 provides a summary of the issue here:
 13               This too is not relevant to this action. It is false and not supported by the facts,
 14 and thus is not probative. Nor does Ironhawk even intend to introduce the e-mails
 15 into evidence at trial, rather intending to rely on witness testimony. In addition, as
 16 discussed supra, the matter the manner in which Ironhawk has pursued its claim or
 17 filed this lawsuit cannot form the basis of an unclean hands defense. Lastly, there is
 18 no doubt that this false narrative would be highly prejudicial to Ironhawk, would
 19 mislead the jury, and would be time consuming—a veritable mini-trial would need
 20 to be conducted as to the manner of drafting the emails and their truthfulness.
 21                     4.     Responses from Third Parties to Ironhawk’s Cease and
 22                            Desist Letters
 23               Lastly, based on a review of Dropbox’s exhibit list, it appears that Dropbox
 24 may attempt to introduce responses from third parties to cease and desist letters,
 25 including attorney argument made by third parties in defense of allegations that such
 26 third parties infringe upon the SmartSync® mark. This issue is briefed in full in
 27 Ironhawk’s Motion in Limine Nos. 5, but Ironhawk provides a summary of the issue
 28 here:
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  1               Statements made by third parties in response to cease and desist letters sent by
  2 Ironhawk would be offered for the truth of the matter asserted, and thus are
  3 inadmissible hearsay. That is, the responses include, e.g., out-of-court statements
  4 that the SmartSync® mark is weak, or that use of Ironhawk’s mark for a product
  5 that is not sold in a standalone manner does not constitute infringement. Dropbox
  6 makes both arguments and would thus be offering said statements for the truth of
  7 those propositions. Notably, the declarants for these statements do not appear on
  8 Dropbox’s witness list.
  9               Further, these responses to Ironhawk’s cease and desist letters should be
 10 excluded pursuant to Rule 403. That is, the responses would confuse the jury into
 11 thinking that Ironhawk’s disputes with third parties are relevant to this case, mislead
 12 and confuse the jury where the statements misstate the law, thus invading the
 13 province of the Judge, and lead to undue delay and waste of time.
 14                     5.     Dropbox’s Proposed Motions in Limine
 15               Dropbox has alluded to at least six motions in limine in meet and confer
 16 communications, despite having already filed two of its five allowed motions to
 17 exclude, moving to exclude the expert testimony of Mr. Cislo and Dr. Wunderlich.
 18 Because those motions have not been filed, and Ironhawk is only vaguely informed
 19 of their subject matter, Ironhawk addresses them in summary manner:
 20                    Dropbox argues that Ironhawk has waived its ability to seek punitive
 21                     damages based upon an alleged failure to raise such damages in a pre-
 22                     trial meet and confer conference and had somehow waived punitive
 23                     damages in discovery. Ironhawk disputes that it has ever waived its
 24                     right to seek punitive damages, sought such damages in its Complaint,
 25                     and will brief such issue should Dropbox file such a motion in limine.
 26                    Dropbox argues that testimony from Ironhawk officers David Gomes
 27                     and Rupinder Gill concerning actual confusion is hearsay. Ironhawk
 28                     cannot fully respond without reference to particular statements, but
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  1                   believes that such testimony can be offered as non-hearsay, and to the
  2                   extent any such testimony constitutes hearsay, will fit into an applicable
  3                   hearsay exception.
  4                  Dropbox argues that its financial information and any argument that
  5                   Dropbox should pay Ironhawk because it can afford to do so as a large
  6                   corporation should be excluded. Ironhawk must reserve any final
  7                   position until it has seen Dropbox’s papers, but would initially respond
  8                   that while it does not intend to argue “Dropbox should pay simply
  9                   because it can,” that the size, revenue, and brand recognition of
 10                   Dropbox and its Smart Sync is highly relevant to Ironhawk’s reverse
 11                   confusion theory.
 12                  Dropbox argues that Ironhawk’s argument that it is entitled to a
 13                   reasonable royalty should be excluded. From Ironhawk’s understanding
 14                   of this motion, it appears to be duplicative of Ironhawk’s motion to
 15                   exclude Dr. Wunderlich’s testimony on this point, already briefed
 16                   before the Court.
 17                  Dropbox argues that Ironhawk’s screenshots from the GSA website
 18                   showing that third parties sell Dropbox’s paid plans to government
 19                   purchasers lack foundation. Ironhawk submits that it will lay
 20                   appropriate foundation for such exhibits at trial—Ironhawk affiliated
 21                   witnesses have knowledge of the creation of such screenshots and the
 22                   actual sale of Dropbox to the government through third parties, and
 23                   Dropbox witnesses presumably have knowledge of its relationship with
 24                   third party resellers.
 25                  Dropbox argues that any exhibits or witnesses not previously disclosed
 26                   in discovery must be excluded. Ironhawk is not aware what exhibits or
 27                   witnesses Dropbox believes are objectionable, but any limited additions
 28                   by Ironhawk have been for newly discovered/created evidence or do
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  1                     not prejudice Dropbox in any way.
  2               I.    Germaine Issues of Law and Ironhawk’s Position on Those Issues
  3                     [L.R. 16-4.1(i)]
  4               The key legal disputes regarding the claims of the parties are set forth in the
  5 pleadings and briefings on the parties’ respective motions for summary judgment,
  6 which are to be heard by the Court on September 23, 2019. Accordingly, Ironhawk
  7 refers to and incorporates by reference the legal arguments set forth in the parties’
  8 motions for summary judgment and briefing thereon.
  9 III.          BIFURCATION OF ISSUES [L.R. 16-4.3]
 10               Ironhawk does not request the bifurcation of any issues.
 11 IV.           JURY TRIAL [L.R. 16-4.4]
 12               Both parties timely requested a jury trial in their pleadings.
 13               The remaining non-jury issues are: (1) Ironhawk’s request for injunctive
 14 relief; (2) Ironhawk’s equitable affirmative defenses to Dropbox’s counterclaim; and
 15 (3) any equitable affirmative defenses that Dropbox may pursue.
 16 V.            ATTORNEYS’ FEES [L.R. 16-4.5]
 17               Ironhawk believes that it will be entitled to attorneys’ fees, as this shall prove
 18 to be an “exceptional case” under the Lanham Act, given the brazenness of
 19 Dropbox’s conduct in infringing upon Ironhawk’s SmartSync® mark. 15 U.S.C. §
 20 1117(a).
 21 VI.           ABANDONMENT OF ISSUES [L.R. 16-4.6]
 22               Ironhawk has not abandoned any claims or affirmative defenses.
 23 / / /
 24 / / /
 25 / / /
 26 / / /
 27 / / /
 28 / / /
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  1 Dated: September 16, 2019            BROWNE GEORGE ROSS LLP
  2                                         Keith J. Wesley
                                            Lori Sambol Brody
  3                                         Matthew L. Venezia
  4
                                         By:        /s/ Matthew L. Venezia
  5                                                 Matthew L. Venezia
  6                                      Attorneys for Plaintiff and Counterdefendant
                                         Ironhawk Technologies, Inc.
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  1                                   CERTIFICATE OF SERVICE
  2               I hereby certify that on this 16th day of September, 2019, I electronically filed
  3 the foregoing PLAINTIFF IRONHAWK TECHNOLOGIES, INC.’S
  4 MEMORANDUM OF CONTENTIONS OF FACT AND LAW [L.R. 16-4] with
  5 the Clerk of the Court using the CM/ECF system which will send notification of
  6 such filing to the following:
  7                                         SERVICE LIST
  8                       Ironhawk Technologies, Inc. vs. Dropbox, Inc.
                        USDC CD CA Case No. 2:18-cv-01481-DDP(JEMx)
  9
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